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            FiLED              UNITED STATES DISTRICT COURT
     IN C E KS OFFICE           DISTRICT OF MASSACHUSETTS
                                          BOSTON
     2020 AUG I 7 AM 11 : 45
                                            ) Criminal #97-cr-40009-NMG.
                                            )
     v.                                     ) Judge: Gorton, USDJ.
                                            )
     United States of America             )
     Respon d ens.                        ) August 1st, 2020.
     - - - - - -t - - - - - - - - - - - - )
    PETITIONER MARINO'S MOTION FOR THIS COURT TO RECONSIDER THIS COURT'S
      ERRONEOUS DENIAL OF MARINO'S DOCUMENTS: 2461, 2463, 2465 and 2472
       VIA: ITS JULY 2nd, 2020 COURT ORDER DOCUMENTS: 2477, 2478, 2479
          AND 2480, WITHOUT ALLOWING MARINO TO REPLY TO GOVERNMENT'S
          RESPONSE DOCUMENT: 2473, SEE FED.R.CIV.P. 54(b), 60(a) AND
                 FED.R.CRIM.P. RULE 36 TO CORRECT ABOVE ERROR

        [1] On 6-17-2020, government's response to Marino's Documents:
     2461, 2463, 2465 and 2472.
        [2] On 7-1-2020, Marino filed a motion to extend time to reply
     to Government's response Document: 2473, dated 6-17-2020. See
     Document: 2474, dated 7-1-2020 (Marino's motion requesting until
     August 10th, 2020 to reply to Government's Document: 2473.
        [3] On 7-2-202, this Court in error denied Marino's Documents:
     2461, 2463, 2465, and 2472, without affording Marino to reply to
     Document: 2473. (Government's response).
        [4] According to Fed.R.Civ.P. Rule 54(b), motion to reconsider,
     in light of this Court's inadvertent error Marino requests a mean-
     ingful opportunity for this Court to reply to Document: 2473, Govern-
     ment's response.
        [5] Moreover, Marino requests that this Court ORDER the Clerk
     of Court's to correct the docket sheet concerning Documents: 2473,
     2477, 2478, 2481, 2466. 2461, 2463, 2465 and 2472, inaccurately
     stated Marino filed for the retroactive USSG's 404 crack cocaine
     applications. Additional reasons for this Court to reverse, vacate
     and remand it-self via: sua sponte it's Court Orders depicted as:
     Documents: 2477, 2478, 2479, 2480, denial of Marino's Documents:
     2461, 2463, 2465, and 2472.
          [6]                           Conclusion
       WHEREFORE, for all of the above specifically stated reasons,
     Marino most respectfully requests the following relief from this
     Honorable Court:
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:

            [7] ORDER, the Clerk of Courts to correct docket sheet pre-
    cludin~ Marino filing any retroactive 404 Amendment under the
    crack cocaine law from Documents: 2473, 2477, 2478, 2481, 2466,
    2461, 2463 and 2465;
       [8] ORDER, the Clerk of Courts to serve Marino all of this
    Court's orders timely as they historically and currently failed
    to do so. Example Marino never received this Court's July 2nd,
    2020 Order;
       [9]   Reverse, vacate, Documents: 2477, 2478, 2479 and 2480,
    Court Ordered denial of Marino's Documents: 2461, 2463, 2465 and 2472
    via: Sua Sponte;
       [10] ORDER, Marino's recently filed reply in opposition t p
    government's response Document: 2473;
       [11] $ RDER, a meaningful evidentiary hearing concerning Marino's
    motions depicted in Documents: 2461, 2463, 2465 and 2472; or
    in the alternative:
       [12] GRANT, Marino's motions Documents: 2461, 2463, 2465 and
    2472 and resentence Marino to time served;
       [13] ORDER, Marino's immediate unconditional release in light
    of supra.
                 Signed under 28 U.S.C. Section 1746. - Pro-se.
                            Respectfully Submitted by
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                                  14431-038
                            FCI Allenwood Medium
                                P.O. Box 2000
                               White Deer, PA
                                    17887
                            Certificate of Service
    I, Petitioner: Marino hereby certify that this motion was sent via:
    United States Mail-Postage prepaid on this 1st day of August, 2020
    to the following:
    Clerk of Courts                                      AUSA: Moran
    Suite 2300                                           U.S.A.0'...D.Mass
    USCH                                                 Suite 9200
    1 Courthouse Way                                     9th Floor
    Boston, massachusetts                                USCH
    02210                                                1 Courthouse Way
                                                         Boston, Mass
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